Case 2:11-cr-00107-WFN   ECF No. 1335   filed 01/07/13   PageID.6108 Page 1 of 6
Case 2:11-cr-00107-WFN   ECF No. 1335   filed 01/07/13   PageID.6109 Page 2 of 6
Case 2:11-cr-00107-WFN   ECF No. 1335   filed 01/07/13   PageID.6110 Page 3 of 6
Case 2:11-cr-00107-WFN   ECF No. 1335   filed 01/07/13   PageID.6111 Page 4 of 6
Case 2:11-cr-00107-WFN   ECF No. 1335   filed 01/07/13   PageID.6112 Page 5 of 6
Case 2:11-cr-00107-WFN   ECF No. 1335   filed 01/07/13   PageID.6113 Page 6 of 6
